Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 1 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 2 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 3 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 4 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 5 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 6 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 7 of 8
Case 1:18-bk-10524-MB   Doc 148 Filed 10/19/23 Entered 10/20/23 16:33:17   Desc
                         Main Document     Page 8 of 8
